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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   WBS, INC.,                        )   Case No. CV16-03495 DDP(JC)
                                        )
 12                     Plaintiff,      )
                                        )   ORDER GRANTING DEFENDANT’S
 13        v.                           )   MOTION FOR SUMMARY JUDGMENT
                                        )
 14 Stephen Pearcy; Artists             )
    Worldwide; top Fuel                 )   [Dkt. 89, 90, 100, 109 and
 15 National, Strong                    )   114]
    Marketing Group, d/b/a              )
 16 Watercraz Marketing                 )
    Group; Kjirsten Strong,             )
 17 et al.                              )
                                        )
 18                     Defendants.     )
                                        )
 19   ________________________          )
 20
 21        Presently before the court is Defendant Stephen Pearcy’s
 22   Motion for Summary Judgment.      Having considered the submissions of
 23   the parties and heard oral argument, the court grants the motion
 24   and adopts the following Order.
 25   I.   Background
 26        In 1987, Defendant Stephen Pearcy (“Pearcy”) formed the band now
 27   commonly known as “RATT.”         (Decl. Stephen Pearcy ¶3.)          Pearcy
 28   initially named the band “MICKEY RATT,” and started out by playing in
      local bars and clubs in southern California and Nevada.         (Id. at ¶5.)
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  1   On January 1, 1980, the band relocated to Los Angeles. (Decl. Turner
  2   ¶¶4–5.) At that time, the band consisted of Pearcy, Chris Hager, John
  3   Turner, and Tim Garcia.          (Id.)       All the band members, with the
  4   exception of Tim Garcia, relocated to Los Angeles.                (Id.)   According
  5   to Turner, upon relocating to Los Angeles, Pearcy decided the band
  6   would drop the word “Mickey” from its name and would be renamed
  7   “RATT.”     (Id. at ¶6.) As part of the rebranding process, Pearcy
  8   designed a new logo for the band to be featured on singles.                  Pearcy
  9   personally    paid    for    “several    hundred      pressings    of     each   such
 10   recording.”       (Id. at ¶10; Decl. Pearcy ¶11.)             By 1981, Pearcy had
 11   designed, adopted, and commercially used the RATT logo.                       (Decl.
 12   Turner ¶17; Decl. Pearcy ¶11.)
 13
           During 1981 and 1982, several members joined and departed the
 14
      band.      (Decl. Pearcy ¶14,16.)            By 1983, none of the musicians
 15
      performing with RATT prior to 1982 remained in the band, with the
 16
      exception of Pearcy himself. (Decl. Turner ¶21.) By 1983, RATT was
 17
      comprised    of    Pearcy,   Robbinson    Lantz      Crosby   (“Crosby”),    Warren
 18
      DeMartini    (“DeMartini”),     Juan    Carlos    Croucier     (“Croucier”), and
 19
      Robbert Blotzer (“Blotzer”).           (Decl. Pearcy ¶15.)         In early 1984,
 20
      RATT become nationally known when they released the album “Out of the
 21
      Cellar.”     (Decl. Majors ¶6.)          The album was certified as triple
 22
      platinum by the Recording Industry Association of America and reached
 23
      number seven on the Billboard 200.           (Id.)    The RATT logo was featured
 24
      on the front cover of the multi-platinum release.                (Id. at ¶17.)
 25
 26        On June 11, 1985, all five members of the band established the

 27   RATT General Partnership (“the Partnership”) and memorialized the

 28   terms of the partnership in a Partnership Agreement (“the Partnership

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  1   Agreement”.)      (Decl. Percy ¶19; Ex. B-10.)                  Around 1991 or 1992,
  2   Crosby was expelled from the Partnership, leaving Pearcy, Croucier,
  3   Demartini, and Blotzer as remaining partners.                    (Decl. Pearcy ¶20.)
  4
             Under Section 7.1 of the Partnership Agreement, no partner had
  5
      the right to “sell, transfer, assign, mortgage, hypothecate, encumber
  6
      or    otherwise    dispose     of   all    or     part    of    his    interest     in    the
  7
      Partnership without prior unanimous written consent of all of the
  8
      Partners.”        (Decl.     Pearcy,    Ex.     B-10     at    7.1.)    The    Partnership
  9
      Agreement provided that, in the event the partnership dissolved,
 10
      “each of the Partners shall be entitled to receive his Proportionate
 11
      Share of the revenues received on account of the Partnership from all
 12
      other sources.”        (Id. at 10.6.)           Section 11.1 of the Partnership
 13
      Agreement further provided that “[i]n the event of death, permanent
 14
      disability, [v]oluntary or [i]nvoluntary [w]ithdrawal of a Partner.
 15
      . ., the Partnership shall not dissolve or terminate but shall
 16
      continue without interruption and without any break in continuity.”
 17
      (Id. at 11.1.)
 18
 19          Around May 1997, Plaintiff WBS, Inc. (“WBS”) was formed by three

 20   of the four remaining partners: DeMartini, Blotzer, and Pearcy.

 21   Croucier did not participate in the formation of WBS.                         (Decl. Pearcy

 22   ¶¶17–21.)    According to Pearcy, WBS was formed to handle aspects of

 23   the then newly-revived RATT band’s touring business, separate and

 24   apart from the Partnership.            (Id. at ¶¶21–25.)            According to Pearcy,

 25   WBS   was   required    to    tender      1,000    shares      of     stock    in   the   WBS

 26   Corporation as consideration for his participation in WBS.                          (Id. at

 27   ¶23.)    Pearcy never received the shares, despite numerous requests.

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  1   (Id.)    Instead, Pearcy states, Demartini and Blotzer expelled him
  2   from WBS.    (Id.)
  3
           Around February 2001, Pearcy brought an action against WBS,
  4
      Blotzer, DeMartini and others in Los Angeles County Superior Court
  5
      (“Pearcy State Court Case”).1            Pearcy alleged he was wrongfully
  6
      removed as a corporate officer of WBS after being defrauded of his
  7
      stock interest in the company.          (Id. at ¶24.) In the Pearcy State
  8
      Court Case, the answering defendants filed a counterclaim, which
  9
      Pearcy “materially lost.”        (Motion at 15.)     Pearcy has appealed the
 10
      outcome, alleging ineffective assistance of legal counsel.                  (Id.)
 11
      The state trial court’s judgment did not make any determination
 12
      regarding    the   composition     of   the   Partnership    or   the   purported
 13
      trademark assignment.      (RJN, Ex. A-8 at 8.)
 14
 15        In 2015, WBS sued Croucier after he began using several RATT

 16   trademarks (the “Croucier action”).2 (Decl. Pearcy ¶25.) WBS claimed

 17   that four RATT-related trademarks, such as the band name, logo and

 18   associated    trademarks    were    registered     with     the   United   States

 19   Trademark and Patent Office (“USTPO”) in 1985 and 1986 by the RATT

 20   partnership.3      WBS further     alleged that on June 2, 1997, “the

 21   [trademarks] were assigned through a sale of a partnership along with

 22   all assets owned thereby to [WBS],” and that WBS recorded the

 23   assignment with the USTPO in 2015. (RJN, Ex. A-3 at ¶4.) WBS

 24   maintained that Croucier had been expelled from the Partnership prior

 25
 26
           2
             Pearcy v. WBS, Inc., Case No. BC245356.
 27        3
             The trademarks at issue were registration numbers 1368245,
      1368246, 1383344 and 1383345. The same trademarks are at issue in
 28   this case.

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  1   to June 1997, and that his authorization to transfer the marks to WBS
  2   was therefore not necessary.4       (RJN, EX. A-4 at 10.)
  3
            In the Croucier lawsuit, this Court concluded, on cross motions
  4
      for summary judgment, that there was no evidence that Croucier had
  5
      been formally expelled from the Partnership prior to the purported
  6
      assignment of the marks to WBS.        Because Croucier never consented to
  7
      the   assignment,   as   required   by     the    Partnership      Agreement,   the
  8
      assignment was invalid.      ( Id.)        Thus, this Court determined, WBS
  9
      could not show that it had an ownership interest in the marks.               (RJN,
 10
      Ex. A-4 at 12:10-14.)5
 11
 12         This case, brought by WBS against Pearcy, is a close analogue of

 13   the Croucier action.      WBS again alleges that it is the owner of the

 14   RATT trademarks,    which    it   obtained       via   an   assignment   from the

 15   Partnership. WBS alleges that Pearcy is infringing upon those marks,

 16   and brings claims for trademark infringement and dilution, unfair

 17   competition,   false     designation     of   origin,       and   intentional   and

 18   negligent interference of economic relations.               (Id. at 6–19.)

 19
            Pearcy now moves for summary judgment on all claims.                WBS has
 20
      not substantively opposed Pearcy’s motion.6
 21
            4
             Also in 2015, DeMartini initiated a shareholder derivative suit
 22   (“Derivative Suit”) in state court. (RJN, Ex. A-5.) DeMartini sued as
      an individual/officer and as a shareholder of WBS and named WBS and
 23   Blotzer, as an individual/officer, as Defendants. (Id.) DeMartini
      alleged Blotzer improperly usurped his corporate authority over WBS.
 24   (Id.)
            5
             WBS subsequently filed a motion for reconsideration,
 25   asserting that Croucier should be estopped from challenging the
      validity of the assignment because the Pearcy State Court Case
 26   judgment. This Court denied WBS’ motion.
           6
             Although WBS did file an opposition to Pearcy’s motion, WBS
 27   essentially duplicates the argument in its own Motion to Strike
      that this court should strike the motion for failure to meet and
 28                                                        (continued...)

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  1   II.   Legal Standard
  2
            Summary    judgment        is   appropriate    where      the   pleadings,
  3
      depositions, answers to interrogatories, and admissions on file,
  4
      together with the affidavits, if any, show “that there is no genuine
  5
      dispute as to any material fact and the movant is entitled to
  6
      judgment as a matter of law.” Fed. R. Civ. P. 56(a).            A party seeking
  7
      summary judgment bears the initial burden of informing the court of
  8
      the basis for its motion and of identifying those portions of the
  9
      pleadings and discovery responses that demonstrate the absence of a
 10
      genuine issue of material fact.           See Celotex Corp. v. Catrett, 477
 11
      U.S. 317, 323 (1986).       All reasonable inferences from the evidence
 12
      must be drawn in favor of the nonmoving party. See Anderson v.
 13
      Liberty Lobby, Inc., 477 U.S. 242, 242 (1986).           If the moving party
 14
      does not bear the burden of proof at trial, it is entitled to summary
 15
      judgment if it can demonstrate that “there is an absence of evidence
 16
      to support the nonmoving party’s case.” Celotex, 477 U.S. at 323.
 17
 18         Once the moving party meets its burden, the burden shifts to the

 19   nonmoving party opposing the motion, who must “set forth specific

 20   facts showing that there is a genuine issue for trial.” Anderson, 477

 21   U.S. at 256.    Summary judgment is warranted if a party “fails to make

 22   a   showing   sufficient    to    establish   the   existence    of   an   element

 23   essential to that party’s case, and on which that party will bear the

 24   burden of proof at trial.”            Celotex, 477 U.S. at 322.        A genuine

 25   issue exists if “the evidence is such that a reasonable jury could

 26         6
            (...continued)
      confer prior to filing. That motion is denied. Pearcy bears the
 27   burden of demonstrating the absence of any genuine issue material
      fact. See Cristobal v. Siegel, 26 F.3d 1488, 1494-95 (9th Cir.
 28   1994).

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  1   return a verdict for the nonmoving party,” and material facts are
  2   those “that might affect the outcome of the suit under the governing
  3   law.”   Anderson, 477 U.S. at 248.        There is no genuine issue of fact
  4   “[w]here the record taken as a whole could not lead a rational trier
  5   of fact to find for the nonmoving party.”           Matsushita Elec. Indus.
  6   Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
  7
             It is not the court’s task “to scour the record in search of a
  8
      genuine issue of triable fact.”      Keenan v. Allan, 91 F.3d 1275, 1278
  9
      (9th Cir.1996).    Counsel have an obligation to lay out their support
 10
      clearly.    Carmen v. San Francisco Sch. Dist., 237 F.3d 1026, 1031
 11
      (9th Cir.2001).     The court “need not examine the entire file for
 12
      evidence establishing a genuine issue of fact, where the evidence is
 13
      not set forth in the opposition papers with adequate references so
 14
      that it could conveniently be found.”         Id.
 15
 16   III.        Discussion

 17
             Pearcy has adequately demonstrated the absence of any genuine
 18
      issues of material fact.     Plaintiff cannot prevail on its trademark
 19
      infringement-based causes of action without proving that it has an
 20
      ownership interest in the RATT trademarks.             See Rearden LLC v.
 21
      Rearden Commerce, Inc., 683 F.3d 1190, 1202-3 (9th Cir. 2012).               An
 22
      invalid assignment of a trademark conveys no rights to that mark.
 23
      See Mr. Donut of America v. Mr. Donut, Inc., 418 F.2d 838, 842 (9th
 24
      Cir. 1969).
 25
             Plaintiff alleges that it obtained an ownership interest in the
 26
      trademarks in 1997 when the RATT Partnership assigned the marks to
 27
      WBS. Pearcy has presented uncontroverted evidence, however, that the
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  1   members of the RATT Partnership did not unanimously consent, either
  2   in writing or otherwise, to the assignment of the RATT marks to WBS.7
  3   Thus, any purported assignment of the marks to WBS was invalid, and
  4   conveyed no rights.       Because no reasonable trier of fact could
  5   conclude that WBS had an ownership interest in the RATT marks,
  6   Pearcy’s motion for summary judgment must be granted.8         9


  7
      IV.   Conclusion
  8
  9         For the reasons stated above, Defendant’s Motion for Summary

 10   Judgment is GRANTED.

 11
      //
 12
      //
 13
 14   //
 15
      //
 16
 17   //

 18         7
             According to Pearcy, he, Croucier, and DeMartini expelled
      Blotzer from the Partnership in November, 2016. (Decl. Pearcy ¶
 19   28.)    Pearcy asserts the Partnership authorized him and Defendant
      Artists Worldwide, Inc. to use the marks. (Id. at ¶29:4–9.)
 20        8
             As noted above, Plaintiff has not filed a substantive
      opposition to Pearcy’s motion, which argued not only that the
 21   assignment of the marks to WBS was invalid, but also that any
      argument to the contrary would be barred by the doctrine of
 22   collateral estoppel and this Court’s judgment in the Croucier case.
      See Hydranautics v. FilmTec Corp., 204 F.3d 880, 885 (9th Cir.
 23   2000) (explaining that collateral estoppel may apply when “(1) the
      issue necessarily decided at the previous proceeding is identical
 24   to the one which is sought to be relitigated; (2) the first
      proceeding ended with a final judgment on the merits; and (3) the
 25   party against whom collateral estoppel is asserted was a party or
      in privity with a party at the first proceeding.”)
 26        9
             The court need not address Pearcy’s contention that he has
      obtained the Partnership’s authorization to use the marks, nor does
 27   the court take any position on any question of ownership between
      Pearcy and the Partnership or any dispute between the shareholders
 28   of WBS.

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  1        Based on the Court’s ruling the following motion and requests
  2   are resolved and deemed moot. Plaintiff’s Motion for Leave to Amend
  3   Complaint [100], Joint Request for Ruling on Defendants Motion for
  4   Summary Judgment [109], and Joint Request for Ruling Plaintiff’s
  5   Motion to Strike and Defendants’ Motion for Summary Judgment [114].
  6
  7
  8   DATED: March 6, 2018

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                                                     Hon. Dean D. Pregerson
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